       Case 2:15-cr-00209-JAM Document 179 Filed 01/13/17 Page 1 of 2


 1   Shari Rusk, Bar No. 170313
     Attorney at Law
 2   PO Box 188945
     Sacramento, California 95818
 3   Tel: (916) 804-8656
     Email: rusklaw@att.net
 4

 5

 6
                                     UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        Cr.S. 15-209 GEB
10
                        Plaintiff,                    COURT: Hon. Judge Garland E. Burrell, Jr.
11                                                    DATE: March 3, 2017
            v.                                        TIME:  9:00 a.m.
12
     Ionel Pascan,                                  MEMORANDUM TO CONTINUE
13                                                 JUDGMENT & SENTENCING
                        Defendant.
14

15

16

17

18
            Ionel Pascan is scheduled to be sentenced on January 25, 2017. Mr. Pascan is in the
19
     process of providing information to the probation office. The parties
20
     therefore ask that judgment and sentencing be continued to March 3, 2017 and that
21
     date is available with the Court. The parties ask that the Court adopt the following
22
     schedule:
23
            Report Disclosed:                             January 27, 2017
24
            Informal Objections:                          February 3, 2017
25
            Final Pre-sentence Report:                    February 10, 2017
26
            Sentencing Memorandum:                        February 17, 2017
27
            Reply:                                        February 24, 2017
28
                                                      1
       Case 2:15-cr-00209-JAM Document 179 Filed 01/13/17 Page 2 of 2


 1          Judgment and Sentencing:          March 3, 2017

 2

 3   Date: January 10, 2017                         Respectfully submitted,

 4

 5                                                  /s/ Shari Rusk
                                                    SHARI RUSK
 6                                                  Attorney for Ionel Pascan

 7
     So ordered.
 8
            Dated: January 12, 2017
 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          2
